       Case 1:20-cv-02250-RJL Document 16-1 Filed 09/02/20 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                                   )
                                                   )
SALVATORE MANCUSO GOMEZ,                           )
                                                   )
     Petitioner,                                   )   Civil Case: 20-cv-2250 RJL
                                                   )
v.                                                 )
                                                   )
CHAD F. WOLF, ACTING SECRETARY,                    )
U.S. DEPT. OF HOMELAND SECURITY, et al.            )
                                                   )
     Respondents.                                  )
                                                   )


                                     ORDER

     Upon consideration of Petitioner’s motion for leave to reply to the Government

Response [ECF 15] to Petitioner’s Motion to Vacate Stay [ECF14], the motion is

GRANTED. The following briefing schedule is ORDERED:


     Petitioner’s Reply Brief due no later than:         September 11, 2020

     Respondent’s Opposition due no later than:          September 25, 2020

     Petitioner’s Sur-Reply due no later than:           October 2, 2020



     SO ORDERED this ________ day of _______________, 2020.



                                      ________________________________________
                                      RICHARD J. LEON
                                      UNITED STATES DISTRICT JUDGE
